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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

ROGER PALSGROVE,                            )
         Plaintiff,                         )       Civil Action No: 3:21-cv-00137
                                            )
       v.                                   )
                                            )       U.S. Magistrate Judge Peter B. Silvain, Jr.
KILOLO KIJAKAZI,                            )       (by consent of the parties)
Acting Commissioner of                      )
Social Security,                            )
              Defendant.                    )

                                           ORDER

        The Defendant having filed an Unopposed Motion to Remand Pursuant to Sentence
Six of 42 U.S.C. § 405(g), due notice having been given, and the Court being advised in the
premises:

       1.     The Unopposed Motion to Remand Pursuant to Sentence Six of 42 U.S.C. §
       405(g), is GRANTED.

       2.    On remand, the agency will request that the Appeals Council remand this case to
       an Administrative Law Judge to hold another hearing and issue a new decision.

       3.      Because remand is pursuant to sentence six of 42 U.S.C. § 405(g), this Court
       retains jurisdiction and final judgment will not be entered.


IT IS SO ORDERED.



September 28, 2021                                    _________________________
                                                      s/Peter B. Silvian, Jr.
                                                      Peter B. Silvain, Jr.
                                                      United States Magistrate Judge
